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                         EXHIBIT 10
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            Anti-money laundering
            and counter-terrorist
            financing measures
            Kingdom of
            Saudi Arabia
            Mutual Evaluation Report

           September 2018
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                  CHAPTER 4. TERRORIST FINANCING AND PROLIFERATION FINANCING Ň 99



                Box 20. Muslim World League (MWL) and the World Assembly of Muslim Youth
                                               (WAMY)
                International donations coming from Saudi Arabia can be made through the
                official aid agency of Saudi Arabia (the King Salman Humanitarian Aid &
                Relief Centre) as well as two organisations: the Muslim World League
                (MWL) and the World Assembly of Muslim Youth (WAMY). These two                            4
                bodies, formed in 1962 and 1972 respectively, are considered by Saudi
                Arabia as international organisations under specific agreements signed with
                the Government of Saudi Arabia, although they consider themselves as non-
                governmental organisations. They have a large network of branches abroad
                and their main purpose is the teaching of Islam, which is fulfilled, among
                others, by publishing books and contributing to building mosques, schools,
                and cultural centres. They are under a different regulation and supervision
                regime than Foundations and Associations. Under the applicable regimes,
                MWL and WAMY need an authorisation from the Minister of Foreign Affairs
                to open branches in a foreign country and to transfer money abroad.
                Charitable organizations arising from MWL and WAMY are prohibited from
                raising charitable donations within the Kingdom.
                Saudi Arabia signed two Headquarters Agreements and a protocol with
                MWL and its related bodies including the Islamic Relief Organisation in
                2009, and with WAMY in 2010. These agreements regulate the
                administrative and financial relationship, responsibilities, appointment
                mechanism in the organisation and mechanism of money remittances.
                In order to ensure compliance with the Agreement and the protocol, in 2016,
                on-site inspections were carried out on the offices of MWL and its related
                bodies and institutions, includingg the Islamic Relief Organization
                                                                         g             and the
                offices of the WAMY. Based on the inspection
                                                          p      tours, several offices were
                closed with several administrative and financial violations, not for financingg
                terrorism, butt to ensure that financial and administrative imbalance is not
                exploited.


Deprivation of TF assets and instrumentalities
         290. Saudi Arabian authorities use TFS, as well as other measures such as criminal
         procedures and a preventive watch-list mechanism, to deprive terrorists and terrorist
         financiers of their assets and instrumentalities. Individuals and entities designated in
         response to partner requests pursuant to UNSCR 1373 do not typically hold funds
         within the Kingdom (total sum of freezes is SAR 3 273.50), and Saudi Arabian
         preventive measures focus heavily on responding to self-financing crimes that
         support foreign terrorist fighters. In contrast, the names that Mabahith listed
         domestically pursuant to 1373 have frozen funds in the total amount of SAR
         374 798.12.
         291. Saudi Arabian authorities reported over 1 000 convictions related to terrorist
         financing incidents from 2013-2016 and a total of approximately SAR 2.3 million
         (approximately EUR 500 000) involving different currencies were confiscated in the



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